                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )            No. 3:10-00065
                                                  )            JUDGE CAMPBELL
QUINCY MAURICE FUQUA                              )


                                              ORDER

        Pending before the Court is the Government’s Motion To Supplement The Record

(Docket No. 393). Through the Motion, the Government seeks to supplement the record by

having the Court file a copy of the jury instructions in this case.

        The Motion is DENIED, as the jury instructions given by the Court are part of the

transcript of the trial, and may be made a part of the record on appeal through the filing of the

transcript.

        It is so ORDERED.



                                                       _________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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